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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


      MONICA ABBOUD, individually and on
      behalf of all others similarly situated,

                             Plaintiff,                     Case No. 4:19-cv-01035

      v.

      HEALTH INSURANCE INNOVATIONS,
      INC., a Florida corporation,

                             Defendant.

1.


           PLEASE TAKE NOTICE that Plaintiff Monica Abboud (“Plaintiff” or “Abboud”)

     dismisses this lawsuit against Defendant Health Insurance Innovations, Inc. (“Defendant” or

     “HII”) without prejudice.

           Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

           (a) Voluntary Dismissal.

           (1) By the Plaintiff.

           (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2 and 66 and any

           applicable federal statute, the plaintiff may dismiss an action without a court order

           by filing:

                (i) a notice of dismissal before the opposing party serves either an answer or a

                motion for summary judgment; or

                (ii) a stipulation of dismissal signed by all parties who have appeared.

                (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is

                without prejudice. But if the plaintiff previously dismissed any federal- or state-


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           court action based on or including the same claim, a notice of dismissal operates

           as an adjudication on the merits.

     In this case, Defendant has neither answered Plaintiff’s Complaint nor served a motion for

summary judgment. In addition, no class has been certified in this matter so Rule 23’s exceptions

do not apply. Likewise, this case does not involve any Receiver so as to implicate Rule 66.

     Accordingly, Plaintiff hereby dismisses these proceedings in accordance with Rule

41(a)(1)(i) without prejudice.



Dated: May 17, 2019                   By:      /s/ Patrick H. Peluso
                                                      One of Plaintiff’s Attorneys

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                                                Attorneys for Plaintiff and the Class

                                                * Pro Hac Vice

                                 CERTIFICATE OF SERVICE

       I hereby certify that the above papers were filed, on May 17, 2019, through the Court’s



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ECF system, which will serve the papers electronically to all counsel of record.

                                             /s/ Patrick H. Peluso




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